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      Julio Ibarra, Jerry Gutierrez, Virginia Busby, Norman Nantes, Jason Chivas and Jeff
13    Pinon
14
                           UNITED STATES DISTRICT COURT
15
                          CENTRAL DISTRICT OF CALIFORNIA
16
17
      EDDY SORIANO, by and through his )          CASE NO. CV 16-155 BRO (SP)
18    conservator, Sherly Tolentino; MARTES )
      de GUZMAN,                            )     ANSWER TO SECOND AMENDED
19                                          )     COMPLAINT BY DEFENDANTS
                   Plaintiffs,              )     NANTES, CHIVAS AND PINON
20                                          )
            v.                              )     DEMAND FOR TRIAL BY JURY
21                                          )
      COUNTY OF RIVERSIDE; CITY OF )
22    MURRIETA; STANLEY SNIFF, Sheriff )
      of Riverside County; WILLIAM DI       )
23    YORIO, Undersheriff of Riverside      )
      County; JULIO IBARRA, Safety          )
24    Coordinator for Riverside County;     )
      JERRY GUTIERREZ, Corrections          )
25    Assistant Sheriff; VIRGINIA BUSBY, )
      Captain of Robert Presley Detention   )
26    Center; Correctional Deputy NORMAN )
      NANTES; Correctional Deputy JASON )
27    CHIVAS; Correctional Deputy JEFF      )
      PINON; Murrieta Police Department     )
28    OFFICER JEREMY MEADOWS;               )
                                              1
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  1   OFFICER H. ADAMS; OFFICER                  )
      ELLIOT; OFFICER TOMPKINS;                  )
  2   OFFICER MATTHEW MOZINGO;                   )
      OFFICER IRVING; TYLER SCOTT                )
  3   JACKSON; and DOES 1-125,                   )
                                                 )
  4                Defendants.                   )
  5
  6
  7         Defendants Norman Nantes, Jason Chivas and Jeff Pinon answer the second
  8   amended complaint as follows:
  9
10                       ANSWER TO SPECIFIC ALLEGATIONS
11          Unnumbered preliminary statement. The factual allegations are denied.
12          1. Jurisdiction is admitted.
13          2. Venue is admitted. It is denied that “unlawful acts and practices” occurred.
14          3. Government Claims Act filing is admitted. It is denied that the claim names
15    defendants Norman Nantes, Jason Chivas and Jeff Pinon.
16          4. The allegations are denied for lack of information and belief.
17          5. The allegations about residency are denied for lack of information and belief.
18          6. The allegations are denied for lack of information and belief.
19          7. It is admitted that the County of Riverside is a public entity and that it owns
20    and operates the Robert Presley Detention Center. It is admitted that the County has
21    policies and procedures concerning the Robert Presley Detention Center. Allegations
22    about unidentified people are denied for lack of information and belief.
23          8. The allegations are admitted.
24          9. It is admitted that Sheriff Sniff is the Sheriff for the County of Riverside and
25    has been elected to that position since 2010. It is admitted that the Sheriff is the
26    ultimate policymaker for the Sheriff’s Department and for County jails. The remaining
27    allegations are denied.
28          10. It is admitted that William DiYorio is the undersheriff for the County of
                                                 2
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  1   Riverside. The remaining allegations are denied.
  2             11. It is admitted that Julio Ibarra was a senior safety coordinator for the County
  3   of Riverside. The remaining allegations are denied.
  4             12. It is admitted that Jerry Gutierrez is an Assistant Sheriff for the County of
  5   Riverside. The remaining allegations are denied.
  6             13. It is admitted that Virginia Busby is a captain for the County of Riverside
  7   Sheriff’s Department. The remaining allegations are denied.
  8             14. It is admitted that Tyler Scott Jackson was an inmate at the Robert Presley
  9   Detention Center. Allegations about residency when not in custody are denied for lack
10    of information and belief.
11              15. Allegations about unidentified people are denied for lack of information and
12    belief.
13              16. Allegations about unidentified people are denied for lack of information and
14    belief.
15              17. The allegations are denied for lack of information and belief.
16              18. The allegations are denied for lack of information and belief.
17              19. The allegations are denied for lack of information and belief.
18              20. The allegations are denied for lack of information and belief.
19              21. The allegations are denied for lack of information and belief.
20              22. The allegations are denied for lack of information and belief.
21              23. It is admitted that Deputy Nantes was employed by the County of Riverside
22    as a deputy sheriff on February 18, 2015 at the Robert Presley Detention Center and
23    that he was assigned to pod 5B during portions of February 18, 2015. It as admitted
24    that during portions of February 18, 2015 inmate Jackson was housed in housing unit
25    5B. Allegations about “Plaintiff Sorian” are denied because there is no such plaintiff.
26    The remaining allegations are denied.
27              24. It is admitted that Deputy Pinon was employed by the County of Riverside
28    as a deputy sheriff on February 18, 2015 at the Robert Presley Detention Center and
                                                     3
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  1   that he was assigned to housing unit 5B during portions of February 18, 2015. It as
  2   admitted that during portions of February 18, 2015 inmate Jackson and plaintiff
  3   Soriano were housed in housing unit 5B. The remaining allegations are denied.
  4             25. It is admitted that Deputy Chivas was employed by the County of Riverside
  5   as a deputy sheriff on February 18, 2015 at the Robert Presley Detention Center and
  6   that he was assigned to pod 5B during portions of February 18, 2015. It as admitted
  7   that during portions of February 18, 2015 inmate Jackson was housed in housing unit
  8   5B. It as admitted that during portions of February 18, 2015 inmate Jackson and
  9   plaintiff Soriano were housed in housing unit 5B. The remaining allegations are
10    denied.
11              26. Allegations about unidentified people are denied for lack of information and
12    belief.
13              27. Allegations about unidentified people are denied for lack of information and
14    belief.
15              28. Allegations about unidentified people are denied for lack of information and
16    belief.
17              29. Allegations about unidentified people are denied for lack of information and
18    belief.
19              30. The allegations are denied for lack of information and belief.
20              31. The allegations are denied for lack of information and belief.
21              32. It is admitted that Soriano was booked into the Southwest Detention Center.
22    The remaining allegations are denied for lack of information and belief.
23              33. It is admitted that Soriano was booked into the Southwest Detention Center
24    and then was transferred to the Robert Presley Detention Center, where he was placed
25    in a mental heath housing unit. It is admitted that all cells in the Robert Presley
26    Detention Center have a button which can be used to contact the pod deputies. It is
27    admitted that on February 18, 2015 the light illuminated in the pod office of housing
28    unit 5B but the audio beep was not working on that date. The remaining allegations
                                                    4
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  1   are denied.
  2         34. It is admitted that at the Robert Presley Detention Center, deputies are
  3   assigned to each pod and that the pod has video systems. The allegations about what
  4   was “supposed to” and was “required” and “should” or “must” happen are allegations
  5   of law rather than of fact. The remaining allegations are denied.
  6         35. It is admitted that Tyler Scott Jackson was an inmate at the Robert Presley
  7   Detention Center prior to and on February 18, 2015, and that on February 18, 2015 he
  8   was 23 years old. It is admitted that on February 18, 2015 plaintiff Soriano was 64
  9   years old. The remaining allegations are denied.
10          36. The allegations are denied.
11          37. It is admitted that on February 18, 2015 Jackson beat Soriano. The
12    remaining allegations are denied.
13          38. It is admitted that as a result of the beating by Jackson, Soriano suffered
14    injuries. The remaining allegations are denied.
15          39. The allegations are denied.
16    First claim for relief
17          40. This paragraph incorporates the allegations of other paragraphs. The
18    responses thereto are incorporated in response.
19          41. The allegations are denied.
20          42. The allegations are denied.
21          43. The allegations are denied.
22          44. The allegations are admitted.
23          45. The allegations are denied.
24          46. The allegations are denied.
25          47. The allegations are denied.
26          48. The allegations are denied.
27          49. The allegations are denied.
28    ///
                                                5
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  1   Second claim
  2         50. This paragraph incorporates the allegations of other paragraphs. The
  3   responses thereto are incorporated in response.
  4         51. It is admitted that during portions of February 18, 2015, deputies Nantes,
  5   Pinon and Chivas were assigned to housing unit 5B at the Robert Presley Detention
  6   Center. It is admitted that during portions of February 18, 2015 plaintiff Soriano and
  7   inmate Jackson were assigned to cell 5B51. The remaining allegations are denied.
  8         52. It is admitted that on February 18, 2015 there were video cameras pointed
  9   at each cell in housing unit 5B which were displayed on a monitor in the pod office.
10    It is admitted that on February 18, 2015 all cells in the Robert Presley Detention Center
11    have a button which can be used to contact the pod deputies. It is admitted that on
12    February 18, 2015 the light illuminated in the pod office of housing unit 5B but the
13    audio beep was not working on that date. The remaining allegations are denied.
14          53. It is admitted that during portions of February 18, 2015 deputies Pinon,
15    Chivas and Nantes were assigned to housing unit 5B. The remaining allegations are
16    denied.
17          54. It is admitted that on February 18, 2015 Jackson beat Soriano. The
18    remaining allegations are denied.
19          55. The allegations are denied.
20          56. The allegations are denied.
21          57. The allegations are denied.
22          58. It is admitted that on February 18, 2015 Jackson beat Soriano. The
23    remaining allegations are denied.
24          59. It is admitted that on February 18, 2015 Jackson beat Soriano. The
25    remaining allegations are denied.
26          60. This paragraph mostly makes legal contentions. The factual contentions are
27    denied.
28          61. The allegations are denied.
                                                 6
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  1         62. The allegations are denied.
  2         63. The allegations are denied.
  3         64. The allegations are denied.
  4         65. The allegations are denied.
  5         66. The allegations are denied.
  6         67. The allegations are denied.
  7   Third claim
  8         68. This paragraph incorporates the allegations of other paragraphs. The
  9   responses thereto are incorporated in response.
10          69.     This paragraph mostly makes legal contentions. Allegations about
11    unidentified people are denied for lack of information and belief. The factual
12    contentions are denied.
13          70. Allegations about unidentified people are denied for lack of information and
14    belief. This paragraph mostly makes legal contentions. The factual allegations are
15    denied.
16          71.     This paragraph mostly makes legal contentions.       Allegations about
17    unidentified people are denied for lack of information and belief. The factual
18    contentions are denied.
19          72. Allegations about unidentified people are denied for lack of information and
20    belief. The remaining allegations are denied.
21          73. This paragraph mostly makes legal contentions. It is admitted that while
22    they were working for the County of Riverside on February 18, 2015, deputies Nantes,
23    Pinon and Chivas were within the course and scope of their employment. The
24    remaining allegations are denied.
25          74. The allegations are denied.
26          75. The allegations are denied.
27          76. The allegations are denied for lack of information and belief.
28          77. The allegations are denied.
                                                7
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  1   Fourth claim
  2         78. This paragraph incorporates the allegations of other paragraphs. The
  3   responses thereto are incorporated in response.
  4         79. The allegations are denied for lack of information and belief.
  5         80. The allegations are denied for lack of information and belief.
  6         81. The allegations are denied for lack of information and belief.
  7         82. The allegations are denied for lack of information and belief.
  8         83. The allegations are denied for lack of information and belief.
  9         84. The allegations are denied for lack of information and belief.
10    Fifth claim
11          85. This paragraph incorporates the allegations of other paragraphs. The
12    responses thereto are incorporated in response.
13          86. The allegations are denied for lack of information and belief.
14          87. The allegations are denied for lack of information and belief.
15          88. The allegations are denied for lack of information and belief.
16          89. The allegations are denied for lack of information and belief.
17          90. The allegations are denied for lack of information and belief.
18          91. The allegations are denied for lack of information and belief.
19          92.     The allegations concerning City employees are denied for lack of
20    information and belief. The allegations about the County and its employees are denied.
21          93. The allegations are denied for lack of information and belief.
22          94. The allegations are denied for lack of information and belief.
23          95. The allegations are denied for lack of information and belief.
24          96. The allegations are denied for lack of information and belief.
25          97. The allegations are denied for lack of information and belief.
26    Sixth claim
27          98. This paragraph incorporates the allegations of other paragraphs. The
28    responses thereto are incorporated in response.
                                                8
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  1         99. It is admitted that Jackson beat Soriano and caused injuries. The allegations
  2   about future medical care are denied.
  3         100. The allegations are denied for lack of information and belief.
  4         101. It is admitted that plaintiff Soriano was injured, but the allegations about
  5   the extent of damages are denied. If “plaintiff” is intended to refer to Marites de
  6   Guzman the allegations are denied.
  7         102. The allegations about being offended are admitted, but the allegations
  8   about the extent of damages are denied.
  9
10                                AFFIRMATIVE DEFENSES
11          Some of the following appear to be part of plaintiffs’ burden of proof, but are
12    included for completeness.
13          1. The second amended complaint, and each alleged claim for relief or cause of
14    action therein, fails to state a claim against defendants upon which relief can be
15    granted.
16          2. Defendants are entitled to qualified immunity.
17          3. Any and all events and happenings, injuries and damages referred to in the
18    second amended complaint, were proximately caused and contributed to by the
19    negligence and misconduct of Jackson.
20          4. Defendants place at issue the provisions of California Civil Code § 1431,
21    limiting defendants’ liability under state law, if any, for non-economic damages by a
22    direct proportion to the percentage of fault as allocated by the trier of fact.
23          5.   Except as otherwise provided by statute, a public employee, and its
24    employing public entity, are not liable under state law for an injury resulting from his
25    or her act or omission, where the act or omission was the result of the exercise of the
26    discretion vested in him or her, whether or not such discretion be abused. Government
27    Code § 820.2.
28          6. Government Code § 844.6 provides an immunity for injuries either to
                                                  9
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  1   prisoners or caused by prisoners.
  2   DATED: February 2, 2017                       ARIAS & LOCKWOOD
  3
                                                    By                /s/
  4                                                 Christopher D. Lockwood
                                                    Attorneys for defendants County of
  5                                                 Riverside, Stanley Sniff, William Di
                                                    Yorio, Julio Ibarra, Jerry Gutierrez, and
  6                                                 Virginia Busby
  7
  8                          DEMAND FOR TRIAL BY JURY
  9         Defendants demand trial by jury.
 10   DATED: February 2, 2017                       ARIAS & LOCKWOOD
 11
 12                                                 By                 /s/
                                                    Christopher D. Lockwood
 13                                                 Attorneys for defendants County of
                                                    Riverside, Stanley Sniff, William Di
 14                                                 Yorio, Julio Ibarra, Jerry Gutierrez, and
                                                    Virginia Busby
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